                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

PHILLIPS 66 COMPANY,                             )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )      Case No. 13-06109-CV-SJ-BP
                                                 )
GARFIELD-66, LLC,                                )
                                                 )
               Defendant.                        )

                                            ORDER

       This matter comes before the Court on Plaintiff Phillips 66 Company’s Supplemental

Motion for Default Judgment. (Doc. 20).

       Plaintiff filed its Complaint, (Doc. 1), on September 25, 2013. In it, Plaintiff alleged

violations of federal and Missouri law for trademark infringement, unfair competition, and

trademark dilution beginning in or around October 2012. Plaintiff served Defendant Garfield-66,

LLC with the Complaint on October 2, 2013. (Doc. 7.) Prior to this lawsuit, Plaintiff attempted

to resolve the issue out-of-court with multiple letters to Defendant. Defendant did not answer or

otherwise respond to those letters or to Plaintiff’s Complaint within the time afforded by Federal

Rule of Civil Procedure 12(a)(1)(A). Plaintiff then moved for default judgment seeking a

preliminary injunction as well as attorneys’ fees and costs. The Court issued an Order to Show

Cause, directing Defendant to show why Plaintiff’s Motion should not be granted. (Order, Doc.

16.) Defendant did not respond to this Order, and the time for doing so passed.

       Then, prior to a Court hearing regarding default judgment, Plaintiff discovered Defendant

had voluntarily removed the infringing material.         Thus, Plaintiff submitted the instant




            Case 5:13-cv-06109-BP Document 22 Filed 01/09/14 Page 1 of 3
Supplemental Motion for Default Judgment, seeking only attorneys’ fees and costs. (Doc. 20.)

Specifically, Plaintiff requests $46,896.00 in attorneys’ fees and $1,669.97 in costs.

       Under the Lanham Act, a court may award reasonable attorneys’ fees to a prevailing

party in “exceptional cases.” 15 U.S.C. § 1117(a). “Courts have defined the characteristics of

exceptional cases with adjectives suggesting egregious conduct by a party.” Aromatique, Inc. v.

Gold Seal, 28 F.3d 863, 877 (8th Cir. 1994). Specifically, this award is available when “the

infringement was malicious, fraudulent, willful, or deliberate.” Cmty. of Christ Copyright Corp.

v. Devon Park Restoration Branch of Jesus Christ’s Church, 634 F.3d 1005, 1013 (8th Cir.

2011) (quotation omitted). A court need not find the existence of bad faith in order to deem the

case “exceptional.” Id. Additionally, the Lanham Act provides that a prevailing party in an

infringement action can recover the cost of the action. See 15 U.S.C. § 1117(a); Fed. R. Civ. P.

54(d)(1).

       Upon reviewing the record, the Court finds that this is an “exceptional case” warranting a

reasonable award of attorneys’ fees and costs. First, Defendant ignored Plaintiff’s numerous

attempts to resolve this matter amicably and without litigation. Second, Defendant also ignored

all documents from the Court, including its Show Cause Order. Third, Defendant voluntarily

removed the infringing marks on the eve of a Court hearing without notifying Plaintiff or the

Court. From these facts, the Court concludes that Defendant’s infringement was, at a minimum,

willful and deliberate and, most certainly, egregious. Additionally, the Court finds the attorneys’

fees to be reasonable.

       Accordingly, Plaintiff’s Supplemental Motion for Default Judgment, (Doc. 20), is

GRANTED. Default judgment shall be ENTERED against Defendant Garfield-66, LLC. It is

further ORDERED that Plaintiff shall recover attorneys’ fees in the amount of $46,896.00 and



                                                 2

            Case 5:13-cv-06109-BP Document 22 Filed 01/09/14 Page 2 of 3
costs in the amount of $1,669.97 from Defendant. All other pending motions are DENIED as

moot.

        The Clerk’s Office shall mail a copy of this Order, by regular and certified mail, to

Defendant at the following address:

        Garfield-66, LLC
        Attn: John Harvey
        601 N. Noyes
        St. Joseph, MO 64506

        IT IS SO ORDERED.


                                                  /s/ Beth Phillips
                                                  BETH PHILLIPS, JUDGE
                                                  UNITED STATES DISTRICT COURT

DATE: January 9, 2014




                                              3

          Case 5:13-cv-06109-BP Document 22 Filed 01/09/14 Page 3 of 3
